                                                                          FILED IN THE
                                                                      U.S. DISTRICT COURT

1                                                               EASTERN DISTRICT OF WASHINGTON



                                                                 Oct 13, 2023
2                                                                    SEAN F. MCAVOY, CLERK



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4                          UNITED STATES DISTRICT COURT

5                       EASTERN DISTRICT OF WASHINGTON

6    JESSE REYES; DANIEL REYNOSO;                    No. 4:21-CV-05075-MKD
     LEAGUE OF UNITED LATIN
7    AMERICAN CITIZENS; LATINO                       ORDER ON VOLUNTARY
     COMMUNITY FUND OF                               DISMISSAL WITH PREJUDICE OF
8    WASHINGTON;                                     BENTON AND CHELAN COUNTY
                                                     DEFENDANTS
9                        Plaintiff,
                                                     ECF No. 195
10   vs.

11   CHARLES ROSS, in his official
     capacity as Yakima County Auditor and
12   Canvassing Review Board Member;
     JOSEPH BRUSIC, in his official
13   capacity as Yakima County Canvassing
     Review Board Member; RON
14   ANDERSON; in his official capacity as
     Yakima County Canvassing Review
15   Board Member;

16                       Defendant.

17         Before the Court is Plaintiffs’ Motion for Voluntary Dismissal of Benton

18   and Chelan County Defendants. ECF No. 195. Plaintiffs move for voluntary

19   dismissal pursuant to Fed. R. Civ. P. 41(a)(2), which provides that “[e]xcept as

20   provided in Rule 41(a)(1), an action may be dismissed at the plaintiff’s request

     only by court order, on terms that the court considers proper.” Plaintiffs present

     ORDER - 1
1    the signed settlement agreement between themselves and the Benton County

2    Defendants and the Chelan County Defendants. The Court has reviewed the record

3    and the motion and finds that dismissal with prejudice of Plaintiffs’ claims against

4    the Benton County and Chelan County defendants would be upon terms that the

5    Court considers proper.

6          Accordingly, IT IS HEREBY ORDERED:

7          1.     Plaintiff’s Motion for Voluntary Dismissal of Benton and Chelan

8    County Defendants, ECF No. 195, is GRANTED.

9          2.     Pursuant to Rule 41(a)(2), all claims against Defendants Brenda

10   Chilton, Andy Miller, Jerome Delvin, Skip Moore, Robert Sealby, Bob Bugert, are

11   DISMISSED with prejudice, without an award of costs and fees other than as

12   provided for in the settlement agreement, ECF No. 195-1.

13         IT IS SO ORDERED. The District Court Executive is directed to file this

14   Order, provide copies to counsel, and TERMINATE Brenda Chilton, Andy

15   Miller, Jerome Delvin, Skip Moore, Robert Sealby, Bob Bugert as defendants in

16   this action. The case caption set forth in this Order shall be applied to all future

17   pleadings.

18         DATED October 13, 2023.

19                                  s/Mary K. Dimke
                                   MARY K. DIMKE
20                          UNITED STATES DISTRICT JUDGE



     ORDER - 2
